(Page 2 of 26)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 1 of 26
(Page 3 of 26)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 2 of 26
(Page 4 of 26)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 3 of 26
(Page 5 of 26)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 4 of 26
(Page 1 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 5 of 26
(Page 2 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 6 of 26
(Page 3 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 7 of 26
(Page 4 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 8 of 26
(Page 5 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 9 of 26
(Page 6 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                           Exhibit A Page 10 of 26
(Page 7 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                           Exhibit A Page 11 of 26
(Page 8 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                           Exhibit A Page 12 of 26
(Page 9 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                           Exhibit A Page 13 of 26
(Page 10 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 14 of 26
(Page 11 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 15 of 26
(Page 12 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 16 of 26
(Page 13 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 17 of 26
(Page 14 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 18 of 26
(Page 15 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 19 of 26
(Page 16 of 16)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                            Exhibit A Page 20 of 26
Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                          Exhibit A Page 21 of 26
Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                          Exhibit A Page 22 of 26
(Page 1 of 2)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                          Exhibit A Page 23 of 26
(Page 2 of 2)   Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                                          Exhibit A Page 24 of 26
Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                          Exhibit A Page 25 of 26
Case 17-13320-JNP   Doc 41-3 Filed 02/06/18 Entered 02/06/18 15:29:24   Desc
                          Exhibit A Page 26 of 26
